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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF MINNESOTA

_____________________________________________________________________________

In Re:                                                       NOTICE OF MOTION AND MOTION
                                                             FOR DISMISSAL OR CONVERSION
     VLADIMIR GRIBOVSKY
                                                 Case No. - BKY 23-41703 WJF
                    Debtor(s)                     Chapter 13
_____________________________________________________________________________

TO: All parties in interest under LOCAL RULE 9013-3.

         1.   Gregory A. Burrell, Trustee, moves the Court for the relief requested below and gives notice of hearing.

         2.    The Court will hold a hearing on this motion at 10:30 a.m., or as soon thereafter as counsel may be
heard, on Thursday, January 25, 2024. The hearing will be conducted telephonically. Please dial 1-888-684-8852 to
call in for the hearing. When prompted, enter access code: 5988550. When prompted, enter security code: 0428. Any
person wanting to appear in person must contact Judge Fisher’s Courtroom Deputy at 651-848-1061 at least 48 hours
prior to the hearing.

       3.     Any response to this motion must be filed and served not later than January 18, 2024, which is seven
days before the time set for the hearing (including Saturdays, Sundays, and holidays), Unless a response opposing
the motion is timely filed, the court may grant the motion without a hearing.

         4.  The Court has jurisdiction of this motion pursuant to 28 U.S.C. §§157 and 1334, Bankruptcy Rule 5005
and Local Rule 1070-1. This proceeding is a core proceeding. This motion arises under 11 U.S.C. §1307 and
Bankruptcy Rule 1017. This motion is filed under Bankruptcy Rule 9013 and Local Rule 9013-1 et seq. The
petition commencing this Chapter 13 case was filed on 8/22/23. The case is now pending in this Court.

       5.    If testimony is necessary as to any facts relevant to this motion, Shannon Haselman, Chapter 13 Office,
100 South Fifth Street, Suite 480, Minneapolis, Minnesota, will testify on behalf of the Trustee.

        6.    The Trustee requests that this case be dismissed or converted to a Chapter 7 case, and such other relief
as the Court deems just, because Debtor(s) have failed to make payments to Trustee thereby creating current defaults
or arrearages on plan payments of $590.00 as of January 3, 2024, and subsequent plan payments that may come due
by the date of the hearing of this motion. The last payment credited to the Debtor(s)' account was on 10/30/2023.
Total payments of $590.00 have been made to date hereof. Required monthly payments are currently $295.00.

              The January, 2024 payment is not included in the listed default amount.
Any payment less than the amount required to bring the plan current will not prevent dismissal of this case. If the
default, including the payment due for January, is brought current by the hearing date, the Trustee will strike the
motion.

                All payments to cure plan arrears must be made with a cashiers check or money
order and sent to: Gregory A. Burrell; PO Box 860026; Minneapolis, MN 55486-0026. Do not send
payments to the trustee's office.

                             NO PERSONAL CHECKS WILL BE ACCEPTED.
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             WHEREFORE, the Trustee requests an order granting the relief prayed for herein.

                                                       Gregory A. Burrell, Trustee

Dated: January 3, 2024                                 /e/ Heather M. Forrest
                                                       Heather M. Forrest #0398764
                                                       Jeffrey M. Bruzek #319260
                                                       Counsel for Chapter 13 Trustee
                                                       100 South Fifth Street, Ste. 480
                                                       Minneapolis, MN 55402
                                                       (612) 338-7591




                                                VERIFICATION

I, Shannon Haselman, an employee of the Trustee, declare, under penalty of perjury, that the foregoing is true and
correct to the best of my knowledge, information and belief.




Dated: January 3, 2024
                                                       /e/ Shannon Haselman
                                                       Shannon Haselman
                                                       Chapter 13 Office
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                            UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA
_____________________________________________________________________________

In Re:                                                           UNSWORN DECLARATION FOR
                                                                 PROOF OF SERVICE
      VLADIMIR GRIBOVSKY
                                                                 Case No. - BKY 23-41703 WJF
                                                                 Chapter 13
                    Debtor(s)
_____________________________________________________________________________
I, Shannon Haselman, declare that on the date stated below I served a copy of the Notice of Motion and Motion for
Dismissal or Conversion and Unsworn Declaration of Proof of Service, upon each of the entities named below in the
manner described, as follows:
Copy to Debtor(s) addressed to:
VLADIMIR GRIBOVSKY
6301 BAY RIDGE ROAD
MOUND, MN 55364
Additional Copy(s) by electronic mail or by first class U.S. mail postage prepaid addressed to:
Wilford, Geske & Cook P.A.
7616 Currell Blvd, Suite 200
Woodbury MN 55125-4393
GEORGE E. WARNER, JR
120 S 6TH STREET
SUITE 1515
MINNEAPOLIS MN 55402-1817




and I declare, under penalty of perjury, that the foregoing is true and correct.
Dated: January 3, 2024
                                                                 /e/ Shannon Haselman
                                                                 Shannon Haselman
                                                                 Chapter 13 Office
